          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07CR28


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )           ORDER
                                         )
                                         )
JAMES AUGUSTUS WILLIAMS                  )
                                         )


     THIS MATTER is before the Court on the Defendant’s motion for a

transcript of the detention hearing of co-Defendant Anthony David Sexton

held May 7, 2007.

     For the reasons set forth in the motion and for cause shown,

     IT IS, THEREFORE, ORDERED that the Defendant’s motion is

ALLOWED, and a transcript of the detention hearing of co-Defendant

Anthony David Sexton is authorized at Government expense. Counsel is

requested to submit the appropriate transcript order form.

     Inasmuch as this case is calendared for trial during the July 2007

term, the Court Reporter is respectfully requested to prepare this transcript

as soon as is practicable.




   Case 1:07-cr-00028-MR-WCM      Document 70   Filed 05/29/07   Page 1 of 2
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                                Signed: May 29, 2007




Case 1:07-cr-00028-MR-WCM   Document 70    Filed 05/29/07   Page 2 of 2
